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From:            Michele Young
To:              Horwitz, Matthew (USAOHS)
Cc:              Peter Toren; Koller, Kevin (USAOHS)
Subject:         Extension Until June 6th
Date:            Monday, May 20, 2019 3:37:08 PM
Attachments:     Chen Plaintiff Notice of extension.docx



Dear Matthew,

Thank you for agreeing to a three-week extension of time to file in response to your Motion to
Dismiss.  

By our calculation, the proposed new deadline will be on June 6th. The language in our
motion is the same as yours.

Here is a copy of the motion Peter and I will file today.

Thank you so much,

Michele




                                                                                   EXHIBIT B
  Case: 1:19-cv-00045-TSB Doc #: 20-2 Filed: 06/28/19 Page: 2 of 2 PAGEID #: 255



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


Xiafen “Sherry” Chen                            Case No. 1:19-cv-00045
                       Plaintiff,
Vs.                                             District Judge Timothy S. Black


United States of America
                       Defendant.               NOTICE OF STIPULATION FOR
                                                EXTENSION OF TIME TO
                                                ANSWER, MOVE, OR OTHERWISE
                                                PLEAD
